Case 3:16-md-02750-BRM-LHG Document 250 Filed 11/16/17 Page 1 of 9 PageID: 1212
                         IN RE:   INVOKANA -- CASE MANAGEMENT CONFERENCE

                                                                                  1

       1
                             UNITED STATES DISTRICT COURT
       2                    FOR THE DISTRICT OF NEW JERSEY

       3

       4   IN RE: INVOKANA                           CIVIL ACTION NUMBER:
           (CANAGLIFLOZIN)
       5   PRODUCTS LIABILITY LITIGATION             3:16-md-02750-BRM-LHG

       6                                   CASE MANAGEMENT
                                           CONFERENCE
       7    __________________________________
                Clarkson S. Fisher Building & U.S. Courthouse
       8        402 East State Street
                Trenton, New Jersey 08608
       9        November 16, 2017
                11:00 a.m.
      10
            B E F O R E:                THE HONORABLE BRIAN R. MARTINOTTI
      11                                THE HONORABLE LOIS H. GOODMAN
                                        UNITED STATES DISTRICT JUDGES
      12
            A P P E A R A N C E S:
      13
           SEEGER WEISS LLP
      14   BY: CHRISTOPHER A. SEEGER, ESQUIRE
               JEFFREY GRAND, ESQUIRE
      15   ATTORNEYS FOR PLAINTIFFS

      16   CARELLA, BYRNE, CECCHI, OLSTEIN, BRODY & AGNELLO
           BY: DONALD ECKLUND, ESQUIRE
      17   ATTORNEY FOR PLAINTIFFS

      18   DOUGLAS & LONDON, P.C.
           BY: MICHAEL A. LONDON, ESQUIRE
      19   ATTORNEY FOR PLAINTIFFS

      20   WEITZ & LUXENBERG
           BY: ELLEN RELKIN, ESQUIRE
      21   ATTORNEY FOR PLAINTIFFS

      22   NAPOLI SHKOLNIK PLLC
           BY: CHRISTOPHER R. LOPALO, ESQUIRE
      23   ATTORNEY FOR PLAINTIFFS

      24    Certified as true and correct as required by Title
            28, U.S.C., Section 753.
      25
                            /S/ Megan McKay-Soule, RMR, CRR



                            United States District Court
                                     Trenton, NJ
Case 3:16-md-02750-BRM-LHG Document 250 Filed 11/16/17 Page 2 of 9 PageID: 1213
                         IN RE:   INVOKANA -- CASE MANAGEMENT CONFERENCE

                                                                                  2

       1    A P P E A R A N C E S CONT'D:

       2
            TUCKER ELLIS LLP
       3    BY: JOHN Q. LEWIS, ESQUIRE
            MOLLIE BENEDICT, ESQUIRE
       4    Attorneys for Defendants

       5

       6    DRINKER BIDDLE & REATH LLP
            BY: MICHAEL C. ZOGBY, ESQUIRE
       7    Attorney for Defendants

       8
            BARNES & THORNBURG LLP
       9    BY: JAMES F. MURDICA, ESQUIRE
            Attorney for Defendants
      10

      11

      12

      13

      14

      15

      16

      17

      18

      19

      20

      21

      22

      23

      24

      25




                            United States District Court
                                     Trenton, NJ
Case 3:16-md-02750-BRM-LHG Document 250 Filed 11/16/17 Page 3 of 9 PageID: 1214
                         IN RE:   INVOKANA -- CASE MANAGEMENT CONFERENCE

                                                                                   3

       1              THE DEPUTY COURT CLERK:           All rise.

       2              (Open court begins at 11:03 a.m.)

       3              THE COURT:       We have counsel on the phone.

       4    Ready to go.

       5              Good morning, counsel.           Your appearances for

       6    the record, please.

       7              MR. SEEGER:       Good morning, your Honor.          Chris

       8    Seeger for the plaintiffs.           With me is Jeff Grand from

       9    Seeger Weiss.

      10              MR. LONDON:       Good morning, your Honor.

      11    Michael London for plaintiffs.

      12              MS. RELKIN:       Good morning, your Honor.          Ellen

      13    Relkin for the plaintiffs.

      14              MR. ECKLUND:       Good morning, your Honor.          Don

      15    Ecklund from Carella Byrne on behalf of plaintiffs.

      16              MR. LOPALO:       Good morning, your Honor.          Chris

      17    Lopalo from Napoli Shkolnik.

      18              MR. LEWIS:       John Lewis for defendants.          Good

      19    morning, your Honor.

      20              MS. BENEDICT:        Mollie Benedict for defendants.

      21              MR. ZOGBY:       Mike Zogby for defendants.

      22              MR. MURDICA:       Jim Murdica for defendants.

      23              THE COURT:       Welcome, counsel.

      24              We had a conference in chambers, as has been

      25    the protocol, myself and Judge Goodman with liaison




                            United States District Court
                                     Trenton, NJ
Case 3:16-md-02750-BRM-LHG Document 250 Filed 11/16/17 Page 4 of 9 PageID: 1215
                         IN RE:   INVOKANA -- CASE MANAGEMENT CONFERENCE

                                                                                     4

       1    counsel.

       2               The one question I have is what's going on

       3    with the Mitsubishi defendants regarding plaintiff

       4    Sanford?     Any idea?

       5               MR. LEWIS:      Your Honor, on behalf of

       6    defendants, we know that that's the only remaining

       7    case with the Mitsubishi defendant named.                My

       8    understanding is that counsel for plaintiffs and the

       9    Steering Committee have reached out to that attorney

      10    on numerous occasions to dismiss that defendant.                I'm

      11    not sure where that stands.

      12               MR. LONDON:      Your Honor, Michael London for

      13    the PSC.

      14               We have obviously reached out to numerous

      15    firms, and I think the Court has given direction at

      16    various case management conferences to comply with

      17    Case Management Order 7 to dismiss the Mitsubishi

      18    defendants from the cases.

      19               We will endeavor -- it's been a success.             I

      20    believe the list -- obviously, the list has decreased

      21    significantly to this one case with this one firm.                  We

      22    will endeavor to communicate with the Latham, Wagner,

      23    Steele & Lehman firm representing Constance Sanford

      24    and remind that firm of the obligations of Case

      25    Management Order 7, and I hope that we can report back




                            United States District Court
                                     Trenton, NJ
Case 3:16-md-02750-BRM-LHG Document 250 Filed 11/16/17 Page 5 of 9 PageID: 1216
                         IN RE:   INVOKANA -- CASE MANAGEMENT CONFERENCE

                                                                                  5

       1    at the next CMC that the case and the Mitsubishi

       2    defendants have been dismissed from it.

       3              THE COURT:       Let me ask counsel appearing

       4    telephonically, is counsel for plaintiff Sanford on

       5    the line?

       6              (No response.)

       7              THE COURT:       I guess not.      Is counsel for

       8    plaintiff Sanford on the line?

       9              THE DEPUTY COURT CLERK:           Counsel, are you

      10    there?

      11              (No response.)

      12              MR. LEWIS:       Is it possible it's a listen-only

      13    line?

      14              THE COURT:       Do me a favor, convey to counsel

      15    on Sanford that if at the next case management

      16    conference the Mitsubishi defendant is not dismissed,

      17    I may, and I'm not going to put this in the order, I

      18    may just dismiss his entire case and let him re-file

      19    it against everybody but Mitsubishi.               So maybe that

      20    will get their attention.

      21              With respect to orders entered since the last

      22    case management conference, Judge Goodman entered an

      23    order regarding production of personnel files.                 That

      24    order's terms will be implemented, and counsel are

      25    meeting and conferring to comply with that order.




                            United States District Court
                                     Trenton, NJ
Case 3:16-md-02750-BRM-LHG Document 250 Filed 11/16/17 Page 6 of 9 PageID: 1217
                         IN RE:    INVOKANA -- CASE MANAGEMENT CONFERENCE

                                                                                    6

       1    Likewise, counsel will continue to meet and confer

       2    regarding requests to change the discovery schedule

       3    and a new scheduling order in the bellwether cases.

       4              Aside from that, anybody need to be heard?

       5    Defendants.

       6              MR. LEWIS:        Nothing for defendants.             Thank

       7    you, your Honors.

       8              THE COURT:        Plaintiffs' counsel.

       9              MR. SEEGER:        No, Your Honor.        We're good.

      10              THE COURT:        On behalf of Judge Goodman and

      11    myself and the Court, my best to you and your families

      12    for a happy, healthy thanksgiving, and we will see you

      13    on December 7th, I believe.

      14              THE COURTROOM DEPUTY:           6th.

      15              On the 6th.        Counsel, thank you very much.

      16    Safe travels.         Off the record.

      17              (Court adjourned at 11:10 a.m.)

      18

      19

      20

      21

      22

      23

      24

      25




                            United States District Court
                                     Trenton, NJ
Case 3:16-md-02750-BRM-LHG Document 250 Filed 11/16/17 Page 7 of 9 PageID: 1218


                                                                                  7

       1

       2                            REPORTER'S CERTIFICATE

       3

       4         I, Megan McKay-Soule, RMR, CRR, Official Court

       5    Reporter of the United States District Court for the

       6    District of New Jersey, do hereby certify that the

       7    foregoing proceedings are a true and accurate

       8    transcript of the testimony as taken stenographically

       9    by and before me at the time, place, and on the date

      10    hereinbefore set forth.

      11         I further certify that I am neither related to any

      12    of the parties by blood or marriage, nor do I have any

      13    interest in the outcome of the above matter.

      14

      15

      16    /S/ Megan McKay-Soule, RMR, CRR              November 16, 2017

      17              Court Reporter                                    Date

      18

      19

      20

      21

      22

      23

      24

      25




                            United States District Court
                                     Trenton, NJ
Case 3:16-md-02750-BRM-LHG Document 250 Filed 11/16/17 Page 8 of 9 PageID: 1219


                                                                                                                                       1
                  /          behalf [3] - 3:15, 4:5,   counsel [14] - 3:3, 3:5,   ESQUIRE [10] - 1:14,     JERSEY [1] - 1:2
                              6:10                      3:23, 4:1, 4:8, 5:3,       1:14, 1:16, 1:18,       Jersey [2] - 1:8, 7:6
  /S [2] - 1:25, 7:16        bellwether [1] - 6:3       5:4, 5:7, 5:9, 5:14,       1:20, 1:22, 2:3, 2:3,   Jim [1] - 3:22
                             Benedict [1] - 3:20        5:24, 6:1, 6:8, 6:15       2:6, 2:9                JOHN [1] - 2:3
              0              BENEDICT [2] - 2:3,       COURT [10] - 1:1, 3:1,                              John [1] - 3:18

  08608 [1] - 1:8
                              3:20                      3:3, 3:23, 5:3, 5:7,                  F            Judge [3] - 3:25, 5:22,
                             best [1] - 6:11            5:9, 5:14, 6:8, 6:10                                6:10
                             BIDDLE [1] - 2:6          Court [6] - 4:15, 6:11,    families [1] - 6:11
                                                                                                           JUDGES [1] - 1:11
              1              blood [1] - 7:12           6:17, 7:4, 7:5, 7:17      favor [1] - 5:14
                                                       court [1] - 3:2            file [1] - 5:18
  11:00 [1] - 1:9            BRIAN [1] - 1:10
                                                                                  files [1] - 5:23
                                                                                                                       L
                             BRODY [1] - 1:16          Courthouse [1] - 1:7
  11:03 [1] - 3:2
                             Building [1] - 1:7        COURTROOM [1] -            firm [3] - 4:21, 4:23,   last [1] - 5:21
  11:10 [1] - 6:17                                                                  4:24
                             BY [7] - 1:14, 1:16,       6:14                                               Latham [1] - 4:22
  16 [2] - 1:9, 7:16                                                              firms [1] - 4:15
                              1:20, 1:22, 2:3, 2:6,    CRR [3] - 1:25, 7:4,                                Lehman [1] - 4:23
                              2:9                       7:16                      fisher [1] - 1:7         LEWIS [5] - 2:3, 3:18,
              2              Byrne [1] - 3:15                                     FOR [6] - 1:2, 1:15,       4:5, 5:12, 6:6
                                                                                    1:17, 1:19, 1:21,      Lewis [1] - 3:18
  2017 [2] - 1:9, 7:16       BYRNE [1] - 1:16                     D
                                                                                    1:23                   LIABILITY [1] - 1:5
  28 [1] - 1:24
                                                       date [1] - 7:9             foregoing [1] - 7:7      liaison [1] - 3:25
                                        C              Date [1] - 7:17            forth [1] - 7:10         likewise [1] - 6:1
              3              CANAGLIFLOZIN [1] -       December [1] - 6:13                                 line [3] - 5:5, 5:8, 5:13
  3:16-md-02750-BRM-          1:4                      decreased [1] - 4:20                  G             list [2] - 4:20
   LHG [1] - 1:5             Carella [1] - 3:15        defendant [3] - 4:7,                                listen [1] - 5:12
                             CARELLA [1] - 1:16         4:10, 5:16                given [1] - 4:15
                                                                                                           listen-only [1] - 5:12
                                                       Defendants [3] - 2:4,      GOODMAN [1] - 1:11
              4              case [7] - 4:7, 4:16,
                                                                                  Goodman [3] - 3:25,
                                                                                                           LITIGATION [1] - 1:5
                              4:21, 5:1, 5:15, 5:18,    2:7, 2:9                                           LLP [4] - 1:13, 2:2,
  402 [1] - 1:8               5:22                     defendants [10] -           5:22, 6:10
                                                                                                             2:6, 2:8
                             CASE [1] - 1:6             3:18, 3:20, 3:21,         GRAND [1] - 1:14
                                                                                                           LOIS [1] - 1:11
              6              Case [2] - 4:17, 4:24      3:22, 4:3, 4:6, 4:18,     Grand [1] - 3:8
                                                                                                           LONDON [4] - 1:18,
                             cases [2] - 4:18, 6:3      5:2, 6:5, 6:6             guess [1] - 5:7
  6th [2] - 6:14, 6:15                                                                                       1:18, 3:10, 4:12
                             CECCHI [1] - 1:16         DEPUTY [3] - 3:1, 5:9,                              London [2] - 3:11,
                             CERTIFICATE [1] -          6:14                                  H              4:12
              7               7:2                      direction [1] - 4:15                                LOPALO [2] - 1:22,
                                                                                  happy [1] - 6:12
  7 [2] - 4:17, 4:25         Certified [1] - 1:24      discovery [1] - 6:2                                   3:16
                                                                                  healthy [1] - 6:12
  753 [1] - 1:24             certify [2] - 7:6, 7:11   dismiss [3] - 4:10,                                 Lopalo [1] - 3:17
                                                                                  heard [1] - 6:4
  7th [1] - 6:13             chambers [1] - 3:24        4:17, 5:18                                         LUXENBERG [1] -
                                                                                  hereby [1] - 7:6
                             change [1] - 6:2          dismissed [2] - 5:2,                                  1:20
                                                                                  hereinbefore [1] -
                             Chris [2] - 3:7, 3:16      5:16
              A                                        DISTRICT [3] - 1:1,
                                                                                   7:10
                             CHRISTOPHER [2] -                                    Honor [9] - 3:7, 3:10,               M
  a.m [3] - 1:9, 3:2, 6:17    1:14, 1:22                1:2, 1:11
                                                                                   3:12, 3:14, 3:16,
  accurate [1] - 7:7         CIVIL [1] - 1:4           District [2] - 7:5, 7:6                             MANAGEMENT [1] -
                                                                                   3:19, 4:5, 4:12, 6:9
  ACTION [1] - 1:4           Clarkson [1] - 1:7        Don [1] - 3:14                                       1:6
                                                                                  HONORABLE [2] -
  adjourned [1] - 6:17       CLERK [2] - 3:1, 5:9      DONALD [1] - 1:16                                   management [3] -
                                                                                   1:10, 1:11
  AGNELLO [1] - 1:16         CMC [1] - 5:1             DOUGLAS [1] - 1:18                                   4:16, 5:15, 5:22
                                                                                  Honors [1] - 6:7
  appearances [1] - 3:5      Committee [1] - 4:9       DRINKER [1] - 2:6                                   Management [2] -
                                                                                  hope [1] - 4:25           4:17, 4:25
  appearing [1] - 5:3        communicate [1] -
  aside [1] - 6:4             4:22                                E                                        marriage [1] - 7:12
  attention [1] - 5:20       comply [2] - 4:16, 5:25
                                                                                              I            MARTINOTTI [1] -
                                                       East [1] - 1:8                                       1:10
  ATTORNEY [4] - 1:17,       confer [1] - 6:1                                     idea [1] - 4:4
                                                       Ecklund [1] - 3:15                                  matter [1] - 7:13
   1:19, 1:21, 1:23          CONFERENCE [1] -                                     implemented [1] -
                                                       ECKLUND [2] - 1:16,                                 McKay [3] - 1:25, 7:4,
  Attorney [1] - 2:7          1:6                                                   5:24
                                                        3:14                                                7:16
  attorney [2] - 2:9, 4:9    conference [3] - 3:24,                               IN [1] - 1:4
                                                       Ellen [1] - 3:12                                    McKay-Soule [3] -
  ATTORNEYS [1] -             5:16, 5:22                                          interest [1] - 7:13
                                                       ELLEN [1] - 1:20                                     1:25, 7:4, 7:16
   1:15                      conferences [1] - 4:16                               INVOKANA [1] - 1:4
                                                       ELLIS [1] - 2:2                                     meet [1] - 6:1
  Attorneys [1] - 2:4        conferring [1] - 5:25
                                                       endeavor [2] - 4:19,                                meeting [1] - 5:25
                             Constance [1] - 4:23
                                                        4:22                                  J            Megan [3] - 1:25, 7:4,
              B              CONT'D [1] - 2:1
                                                       entered [2] - 5:21,        JAMES [1] - 2:9           7:16
                             continue [1] - 6:1
  BARNES [1] - 2:8                                      5:22                      Jeff [1] - 3:8           Michael [2] - 3:11,
                             convey [1] - 5:14
  begins [1] - 3:2                                     entire [1] - 5:18          JEFFREY [1] - 1:14        4:12
                             correct [1] - 1:24




                                  United States District Court
                                           Trenton, NJ
Case 3:16-md-02750-BRM-LHG Document 250 Filed 11/16/17 Page 9 of 9 PageID: 1220


                                                                                                           2
  MICHAEL [2] - 1:18,       phone [1] - 3:3             Seeger [2] - 3:8, 3:9                Z
   2:6                      place [1] - 7:9             SEEGER [4] - 1:13,
  Mike [1] - 3:21           plaintiff [3] - 4:3, 5:4,    1:14, 3:7, 6:9            ZOGBY [2] - 2:6, 3:21
  Mitsubishi [6] - 4:3,      5:8                        set [1] - 7:10             Zogby [1] - 3:21
   4:7, 4:17, 5:1, 5:16,    PLAINTIFFS [5] -            SHKOLNIK [1] - 1:22
   5:19                      1:15, 1:17, 1:19,          Shkolnik [1] - 3:17
  MOLLIE [1] - 2:3           1:21, 1:23                 significantly [1] - 4:21
  Mollie [1] - 3:20         plaintiffs [5] - 3:8,       Soule [3] - 1:25, 7:4,
  morning [7] - 3:5, 3:7,    3:11, 3:13, 3:15, 4:8       7:16
   3:10, 3:12, 3:14,        plaintiffs' [1] - 6:8       stands [1] - 4:11
   3:16, 3:19               PLLC [1] - 1:22             State [1] - 1:8
  MR [12] - 3:7, 3:10,      possible [1] - 5:12         States [1] - 7:5
   3:14, 3:16, 3:18,        proceedings [1] - 7:7       STATES [2] - 1:1, 1:11
   3:21, 3:22, 4:5, 4:12,   production [1] - 5:23       Steele [1] - 4:23
   5:12, 6:6, 6:9           PRODUCTS [1] - 1:5          Steering [1] - 4:9
  MS [2] - 3:12, 3:20       protocol [1] - 3:25         stenographically [1] -
  MURDICA [2] - 2:9,        PSC [1] - 4:13               7:8
   3:22                     put [1] - 5:17              Street [1] - 1:8
  Murdica [1] - 3:22                                    success [1] - 4:19
                                        R
             N                                                     T
                            RE [1] - 1:4
  named [1] - 4:7           re [1] - 5:18               telephonically [1] -
  NAPOLI [1] - 1:22         re-file [1] - 5:18            5:4
  Napoli [1] - 3:17         reached [2] - 4:9, 4:14     terms [1] - 5:24
  need [1] - 6:4            ready [1] - 3:4             testimony [1] - 7:8
  NEW [1] - 1:2             REATH [1] - 2:6             thanksgiving [1] -
  new [1] - 6:3             record [2] - 3:6, 6:16        6:12
  New [2] - 1:8, 7:6        regarding [3] - 4:3,        THE [13] - 1:2, 1:10,
  next [2] - 5:1, 5:15        5:23, 6:2                   1:11, 3:1, 3:3, 3:23,
  nothing [1] - 6:6         related [1] - 7:11            5:3, 5:7, 5:9, 5:14,
  November [2] - 1:9,       RELKIN [2] - 1:20,            6:8, 6:10, 6:14
   7:16                       3:12                      THORNBURG [1] - 2:8
  NUMBER [1] - 1:4          Relkin [1] - 3:13           Title [1] - 1:24
  numerous [2] - 4:10,      remaining [1] - 4:6         transcript [1] - 7:8
   4:14                     remind [1] - 4:24           travels [1] - 6:16
                            report [1] - 4:25           Trenton [1] - 1:8
             O              Reporter [2] - 7:5,         true [2] - 1:24, 7:7
                              7:17                      TUCKER [1] - 2:2
  obligations [1] - 4:24
                            REPORTER'S [1] - 7:2
  obviously [2] - 4:14,
   4:20
                            representing [1] -                     U
                              4:23
  occasions [1] - 4:10                                  U.S [1] - 1:7
                            requests [1] - 6:2
  OF [1] - 1:2                                          U.S.C [1] - 1:24
                            required [1] - 1:24
  Official [1] - 7:4                                    United [1] - 7:5
                            respect [1] - 5:21
  OLSTEIN [1] - 1:16                                    UNITED [1] - 1:1
                            response [2] - 5:6,
  one [3] - 4:2, 4:21                                   uNITED [1] - 1:11
                              5:11
  Open [1] - 3:2
                            rise [1] - 3:1
  Order [2] - 4:17, 4:25                                           V
                            RMR [3] - 1:25, 7:4,
  order [4] - 5:17, 5:23,
                              7:16
   5:25, 6:3                                            various [1] - 4:16
  order's [1] - 5:24
  orders [1] - 5:21
                                        S                          W
  outcome [1] - 7:13        safe [1] - 6:16
                                                        Wagner [1] - 4:22
                            Sanford [5] - 4:4,
                                                        WEISS [1] - 1:13
             P               4:23, 5:4, 5:8, 5:15
                                                        Weiss [1] - 3:9
                            schedule [1] - 6:2
  P.C [1] - 1:18                                        WEITZ [1] - 1:20
                            scheduling [1] - 6:3
  parties [1] - 7:12                                    welcome [1] - 3:23
                            Section [1] - 1:24
  personnel [1] - 5:23
                            see [1] - 6:12




                                 United States District Court
                                          Trenton, NJ
